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 2   Encino, California 91436-2746
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 3   Facsimile: (818) 981-6098
     Email: imblaw@pacbell.net
 4
 5   Attorney for Defendant
     MICHELLE LE
 6
 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        ) CASE NO.: 2:05-CR-542-GEB
                                                      )
11                          Plaintiff,                ) STIPULATION AND ORDER TO
                                                      ) CONTINUE
12   vs.                                              )
                                                      )
13   THO LE, et. al.,                                 )
                                                      )
14                          Defendants.               )
                                                      )
15
16            It is hereby stipulated and agreed to between the United States of America through Matthew
17   C. Stegman, Assistant United States Attorney; defendant, NAM PHAMTRAN, by and through his
18   counsel, Alex R. Kessel, defendant, TRI HUU BUI, by and through his counsel Scott L. Tedmon;
19   defendant, MICHELLE CHAUN GOC LE, by and through her counsel, Mark Bledstein; defendant
20   THANG QUOC BUI, by and through his counsel, Tim Warriner; and TUNG THANH HUYNH, by
21   and through his counsel, Matthew C. Bockman, Assistant Federal Defender, that the motions hearing
22   date currently set for October 15, 2010 at 9:00am, be continued to December 17, 2010 at 9:00am.
23            All counsel continue to require additional time to engage in plea negotiations and to conduct
24   legal research and investigation concerning possible plea. Counsel is also engaged in trial October
25   14, 2010 on People v. Andres Frias, Case No. BA357016.
26            IT IS FURTHER STIPULATED that the period from October 15, 2010 (the date currently
27   set for the motions hearing) through and including December 17, 2010, be excluded in computing
28   the time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.


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 1   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel and 18 U.S.C.
 2   §§3161(h)(8)(B)(ii) and Local Code T2 for complexity.
 3
 4   Dated: October 14, 2010                    Respectfully submitted,
 5
 6                                              /s/ I. Mark Bledstein
                                                _______________________
 7                                              I. MARK BLEDSTEIN
                                                Attorney for Defendant
 8                                              MICHELLE CHAUN GOC LE
 9
10                                              /s/ I. Mark Bledstein for
                                                ________________________
11                                              ALEX R. KESSEL
                                                Attorney for Defendant
12                                              NAM PHAMTRAN
13
                                                /s/ I. Mark Bledstein for
14                                              ________________________
                                                SCOTT. TEDMON
15                                              Attorney for Defendant
                                                TRUI HUU BUI
16
17
                                                /s/ I. Mark Bledstein for
18                                              ________________________
                                                TIMOTHY WARRINER
19                                              Attorney for Defendant
                                                THANG QUOC BUI
20
21
                                                /s/ I. Mark Bledstein for
22                                              ________________________
                                                MATTHEW BOCKMON
23                                              Attorney for Defendant
                                                TUNG THANH HUYNH
24
25
     Dated: October 14, 2010                    MCGREGOR W. SCOTT
26                                              United States Attorney
27                                              /s/ I. Mark Bledstein for
                                                ________________________
28                                              MATTHEW C. STEGMAN
                                                Assistant United States Attorney

                                                     2
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 1
 2                                      ORDER
 3   IT IS SO ORDERED:
 4   Dated: October 14, 2010
 5
 6                                    GARLAND E. BURRELL, JR.
 7                                    United States District Judge

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